   23-60547-mmp Doc#82 Filed 04/24/24 Entered 04/24/24 06:52:21 Main Document Pg 1 of
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  23-60547-mmp Doc#82 Filed 04/24/24 Entered 04/24/24 06:52:21 Main Document Pg 3 of
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                                       18
23-60547-mmp Doc#82 Filed 04/24/24 Entered 04/24/24 06:52:21 Main Document Pg 6 of
                                       18
23-60547-mmp Doc#82 Filed 04/24/24 Entered 04/24/24 06:52:21 Main Document Pg 7 of
                                       18
           23-60547-mmp Doc#82 Filed 04/24/24 Entered 04/24/24 06:52:21 Main Document PgPage
                                                                                         8 of4 of 4
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          Easy Steps to Balance Your Account                                                          4a List any checks, payments, transfers or other
                                                                                                         withdrawals from your account that are not on
                                                                               Checking                  this statement.
                                                                               Account
                                                                                                             Check
              1.       Write here the amount shown on                      $                                  No.                            Amount
                       statement for ENDING BALANCE
                                                                                                                              $
                                                                                                                              $
              2.       Enter any deposits which have not been              $
                       credited on this statement.                         +                                                  $
                                                                                                                              $

              3.       Total lines 1 & 2                                   $                                                  $
                                                                           =                                                  $
                                                                                                                              $
              4.       Enter total from 4a                                 $                                                  $
                       (column on right side of page)                      -                                                  $
                                                                                                                              $
              5.       Subtract line 4 from line 3.                        $                                                  $
                       This should be your checkbook balance.              =
                                                                                                                              $
                                                                                                                              $
                                                                                                                              $
                                                                                                       Total Enter in
                                                                                                       Line 4 at Left


The law requires you to use "reasonable care and promptness" in examining your bank statement and any checks sent with it and to report to the Bank an
unauthorized signature (i.e., a forgery), any alteration of a check, or any unauthorized endorsement. You must report any forged signatures, alterations or forged
endorsements to the Bank within the time periods specified under the Deposit Agreement. If you do not do this, the Bank will not be liable to you for the losses or
claims arising from the forged signatures, forged endorsements or alterations. Please see the Deposit Agreement for further explanation of your responsibilities
with regard to your statement and checks. A copy of our current Deposit Agreement may be requested at any of our branch locations.

                                                           Summary of Our Error Resolution Procedures
                                                   In Case of Errors or Questions About Your Electronic Transfers
                                                              Telephone us toll-free at 1-800-734-4667
                                                                            or write us at
                                                            Regions Electronic Funds Transfer Services
                                                                         Post Offfice Box 413
                                                                    Birmingham, Alabama 35201

Please contact Regions as soon as you can, if you think your statement is wrong or if you need more information about a transfer listed on your statement. We
must hear from you no later than sixty (60) days after we sent the FIRST statement on which the problem or error appeared.
      (1) Tell us your name and account number.
      (2) Describe the error or the transfer you are unsure about and explain as clearly as you can why you believe it is an error or why you need more information.
      (3) Tell us the dollar amount of the suspected error.
If you tell us verbally, we may require that you send us your complaint or question in writing within ten (10) business days.

We will determine whether an error occurred within ten (10) business days after we hear from you and will correct any error promptly. If we need more time,
however, we may take up to forty-five (45) days to investigate your complaint or question (ninety (90) days for POS transactions or for transfers initiated outside of
the United States). If we decide to do this, we will credit your account within ten (10) business days for the amount you think is in error. If, after the investigation,
we determine that no bank error occurred, we will debit your account to the extent previously credited. If we ask you to put your complaint in writing and we do not
receive it within ten (10) business days, we may not credit your account.

New Accounts- If an alleged error occurred within thirty (30) days after your first deposit to your account was made, we may have up to ninety (90) days to
investigate your complaint, provided we credit your account within twenty (20) business days for the amount you think is in error.
If we decide there was no error, we will send you a written explanation within three (3) business days after we finish our investigation. You may ask for copies of
the documents that we used in our investigation.
FOR QUESTIONS CONCERNING THIS STATEMENT OR FOR VERIFICATION OF A PREAUTHORIZED DEPOSIT, PLEASE CALL 1-800-REGIONS
(734-4667) OR VISIT YOUR NEAREST REGIONS LOCATION.

ADJ - Adjustment              RI - Return Item                 CR - Credit                           SC - Service Charge                  OD - Overdrawn
EB - Electronic Banking       NSF - Nonsufficient Funds        APY - Annual Percentage Yield         FWT - Federal Withholding Tax        *Break in Number Sequence
You can make a deposit at the branch during business hours or at a Regions Deposit-Smart ATM, and you can also make a transfer or deposit through Regions
Online Banking or Mobile Banking. To make a deposit to an overdrawn account 24 hours a day, please visit https://selfservice.regions.com.
23-60547-mmp Doc#82 Filed 04/24/24 Entered 04/24/24 06:52:21 Main Document Pg 9 of
                                       18
23-60547-mmp Doc#82 Filed 04/24/24 Entered 04/24/24 06:52:21 Main Document Pg 10 of
                                        18
          23-60547-mmp Doc#82 Filed 04/24/24 Entered 04/24/24 06:52:21 Main Document PgPage
                                                                                        11 of3 of 3
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          Easy Steps to Balance Your Account                                                          4a List any checks, payments, transfers or other
                                                                                                         withdrawals from your account that are not on
                                                                               Checking                  this statement.
                                                                               Account
                                                                                                             Check
              1.       Write here the amount shown on                      $                                  No.                            Amount
                       statement for ENDING BALANCE
                                                                                                                              $
                                                                                                                              $
              2.       Enter any deposits which have not been              $
                       credited on this statement.                         +                                                  $
                                                                                                                              $

              3.       Total lines 1 & 2                                   $                                                  $
                                                                           =                                                  $
                                                                                                                              $
              4.       Enter total from 4a                                 $                                                  $
                       (column on right side of page)                      -                                                  $
                                                                                                                              $
              5.       Subtract line 4 from line 3.                        $                                                  $
                       This should be your checkbook balance.              =
                                                                                                                              $
                                                                                                                              $
                                                                                                                              $
                                                                                                       Total Enter in
                                                                                                       Line 4 at Left


The law requires you to use "reasonable care and promptness" in examining your bank statement and any checks sent with it and to report to the Bank an
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ADJ - Adjustment              RI - Return Item                 CR - Credit                           SC - Service Charge                  OD - Overdrawn
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    23-60547-mmp Doc#82 Filed 04/24/24 Entered 04/24/24 06:52:21 Main Document Pg 12 of
                                            18
                   Balance Sheet
                        CRU TRANSPORTATION LLC
                               As of: 2/29/2024

Current Assets
Regions - Operation                                      $           3,799.08
Regions - Payroll                                        $           8,141.11
Receivables                                              $          12,500.00
Deposit - PENSKE                                         $          40,000.00
Factoring - Reserve                                      $          17,936.93
Driver Loan                                              $             900.00
Netspend 1                                               $              50.00
Netspend 2                                               $              50.00
                                    Total Current Assets $          83,377.12
Fixed Assets

                                      Total Fixed Assets $                -
                                                                  Total Assets $    83,377.12

Current Liabilities

American Express Credit Card                                $        4,236.82
                                  Total Current Liabilities $        4,236.82
Long Term Liabilities
FUB Credit Line                                            $       188,787.24
William Hoffman Loan                                       $        90,000.00
FUB Equipment Line                                         $       387,580.09
Everest Loan                                               $        54,970.50
SBA - Ready Capital                                        $       299,319.29
                               Total Long Term Liabilities $     1,020,657.12
Equity
Opening Balance                                           $       (264,578.34)
Adam                                                      $        260,262.45
Jordan                                                    $        (16,403.11)
Jereell                                                   $        104,000.00
                                             Total Equity $         83,281.00

                                                             Retained Earnings -1,024,797.82
                                                          Total Liabilities/Equity $ 83,377.12
    23-60547-mmp Doc#82 Filed 04/24/24 Entered 04/24/24 06:52:21 Main Document Pg 13 of
                                            18
             Cash Flow Statement
                      CRU TRANSPORTATION LLC
                      From : 2/1/2024 To: 2/29/2024


Income
Cash Receipts                                         $ 127,183.30
                                         Total Income $ 127,183.30



Cost Of Sales
Leases                                                 $ 8,160.80
Tolls/Scales                                           $ 2,028.41
Truck Fuel                                             $ 46,454.02
Maintenance                                            $ 3,487.31
Liability Insurance                                    $ 10,122.98
Vehicle Licensing
                                  Total Cost Of Sales $ 70,253.52
                                Operating Profit/(Loss) $ 56,929.78
Expense
Bank Fees                                             $    560.00
Driver Compliance                                     $    564.30
Payroll                                               $ 29,533.38
Health Insurance                                      $ 1,603.36
Child Support                                         $ 1,077.70
Operations Software                                   $    523.52
Professional Fees                                     $ 2,000.00
Factoring Fees                                        $ 8,492.52
Taxes                                                 $ 5,192.68
                                        Total Expense $ 49,547.46



                                Total All Cash Receipts $ 127,183.30
                          Total All Cash Disbursements $ 119,800.98
                                          Net Cash Flow $ 7,382.32
   23-60547-mmp Doc#82 Filed 04/24/24 Entered 04/24/24 06:52:21 Main Document Pg 14 of
                                           18
 Bank Statement Reconciliation                                                                          3/6/2024


         Rec No               32         Bank Acct         1002   Cleared Debits    122,641.29   45
        Rec Date        2/2/2024        Starting Bal     819.70   Cleared Credits   119,661.91   76
       Start Date       2/1/2024        Ending Bal     3,799.08     Unreconciled          0.00
       End Date        2/29/2024


Cleared Deposits And Other Additions
Date          Type       Memo                                                                          Debit Amt

2/1/2024      Rct        simple                                                                         1,000.00
2/1/2024      Rct        integrity                                                                       600.00
2/1/2024      Rct        jear                                                                           1,400.00
2/1/2024      Rct        overide                                                                        1,500.00
2/1/2024      Rct        ascent                                                                          500.00
2/2/2024      ChkDet                                                                                     900.00
2/5/2024      Rct        ryan                                                                           2,000.00
2/5/2024      Rct        moeller                                                                         790.00
2/6/2024      Rct        bay                                                                            4,500.00
2/6/2024      Rct        ryan                                                                           4,200.00
2/6/2024      Dep                                                                                       1,740.44
2/7/2024      Dep                                                                                       5,000.00
2/8/2024      Rct        montgomery                                                                     4,800.00
2/8/2024      Rct        linehaul                                                                       1,328.00
2/8/2024      Rct        ryan                                                                           2,000.00
2/9/2024      Dep                                                                                       1,000.00
2/12/2024     Rct        ryan                                                                           4,100.00
2/13/2024     Rct        globetrotter                                                                   4,412.00
2/13/2024     Rct        tql                                                                            5,400.00
2/13/2024     Rct        integrity                                                                      4,200.00
2/13/2024     Rct        ease                                                                           2,850.00
2/13/2024     Rct        meagellan                                                                      1,000.00
2/14/2024     Rct        patterson                                                                      6,100.00
2/14/2024     Rct        set                                                                            1,500.00
2/15/2024     Rct        204                                                                            1,250.00
2/16/2024     Rct        207                                                                            3,700.00
2/20/2024     Rct        210                                                                            5,500.00
2/20/2024     Rct        210                                                                            2,100.00
2/20/2024     Rct        211                                                                            4,800.00
2/20/2024     Rct        211                                                                            2,500.00
2/20/2024     Rct        211                                                                            1,650.00
2/20/2024     Rct        213                                                                            2,500.00
2/20/2024     Dep                                                                                       1,000.00
2/21/2024     Rct        trinity                                                                        1,540.00
2/21/2024     Rct        217                                                                            4,000.00
2/21/2024     Rct        217                                                                            1,700.00
2/26/2024     Rct        Megacorp                                                                       4,400.00
2/26/2024     Rct        220                                                                            2,180.85


Bank Reconciliation      3/6/2024                                                                Page 1 of 3
   23-60547-mmp Doc#82 Filed 04/24/24 Entered 04/24/24 06:52:21 Main Document Pg 15 of
                                           18
2/26/2024   Rct       220                                                              700.00
2/26/2024   Rct       220                                                             2,400.00
2/26/2024   Rct       tql                                                             6,200.00
2/27/2024   Rct       volta                                                           2,900.00
2/27/2024   Rct       scotlyn                                                         2,700.00
2/28/2024   Rct       231                                                             3,700.00
2/28/2024   Rct       scotlyn                                                         2,400.00

                                                                       Total        122,641.29


Cleared Checks And Other Deductions
Date        Type      Check       Payee                      Memo                   Credit Amt

2/1/2024    Chk                   CRU TRANSPORTATION LLC                               100.00
2/1/2024    Chk                   GULF COAST BANK & TRUST                              121.00
2/1/2024    Chk                   GULF COAST BANK & TRUST                              256.00
2/1/2024    Chk                   OREGON DEPARTMENT OF TRA                             462.08
2/1/2024    Chk                   NEW MEXICO TAX                                       703.70
2/5/2024    Chk                   GULF COAST BANK & TRUST                              210.25
2/5/2024    Chk                   LANE LAW FIRM                                       1,000.00
2/7/2024    Chk                   GULF COAST BANK & TRUST                              653.50
2/7/2024    Chk                   CT FUEL TAX                                            26.90
2/7/2024    Chk                   CRU TRANSPORTATION LLC                              5,150.00
2/8/2024    Chk                   GULF COAST BANK & TRUST                              151.00
2/8/2024    Chk                   BLUE CROSS BLUE SHEILD                              1,603.36
2/8/2024    Chk                   PENSKE LEASING                                      1,755.80
2/9/2024    Chk                   XTRA LEASE LLC                                      3,205.00
2/12/2024   Chk                   CRU TRANSPORTATION LLC                               100.00
2/12/2024   Chk                   GULF COAST BANK & TRUST                              308.50
2/12/2024   Chk                   PCS                                                  523.52
2/13/2024   Chk                   TA SERVICES INC                                        74.01
2/13/2024   Chk                   DFA LEASING                                         2,000.00
2/13/2024   Chk                   GULF COAST BANK & TRUST                             1,340.55
2/14/2024   Chk                   PETRO                                                523.03
2/14/2024   Chk                   GULF COAST BANK & TRUST                              571.00
2/14/2024   Chk                   CRU TRANSPORTATION LLC                              8,500.00
2/15/2024   Chk                   CHASE                                                521.10
2/15/2024   Chk                   E-Z PASS                                               43.74
2/15/2024   Chk                   MONTANYE, JAMES                                     1,442.01
2/16/2024   Chk                   KTA                                                  403.87
2/16/2024   Chk                   GULF COAST BANK & TRUST                              278.50
2/16/2024   Chk                   CHASE                                                500.20
2/20/2024   Chk                   LANE LAW FIRM                                       1,000.00
2/21/2024   Chk                   CRU TRANSPORTATION LLC                              7,200.00
2/23/2024   Chk                   CHASE                                                559.50
2/26/2024   Chk                   TA SERVICES INC                                      524.91
2/26/2024   Chk                   LOVES TIRE                                          1,035.76
2/27/2024   Chk                   PIE FINANCE CO, INC.                                 107.98
2/28/2024   Chk                   GULF COAST BANK & TRUST                              458.50


Bank Reconciliation   3/6/2024                                                 Page 2 of 3
   23-60547-mmp Doc#82 Filed 04/24/24 Entered 04/24/24 06:52:21 Main Document Pg 16 of
                                           18
2/28/2024   Chk                  CRU TRANSPORTATION LLC                                                       8,100.00
2/28/2024   Chk                  FIRST INSURANCE                                                             10,015.00
2/29/2024   Chk                  THUMBS UP COMPLIANCE INC                                                      564.30
2/29/2024   Chk                  TA SERVICES INC                                                               557.50
2/29/2024   Chk                  BLUE BEACON INC                                                               772.10
2/1/2024    BillChk   0          LOAD CONNEX                                                                  1,306.02
2/2/2024    BillChk   0          LOAD CONNEX                                                                  3,370.51
2/5/2024    BillChk   0          LOAD CONNEX                                                                  1,216.86
2/6/2024    BillChk   0          LOAD CONNEX                                                                  1,740.44
2/7/2024    BillChk   0          LOAD CONNEX                                                                  2,491.87
2/8/2024    BillChk   0          LOAD CONNEX                                                                  2,962.54
2/8/2024    BillChk   0          LOAD CONNEX                                                                  1,714.94
2/9/2024    BillChk   0          LOAD CONNEX                                                                  2,931.07
2/12/2024   BillChk   0          LOAD CONNEX                                                                  1,166.15
2/13/2024   BillChk   0          LOAD CONNEX                                                                  1,411.34
2/14/2024   BillChk   0          LOAD CONNEX                                                                  2,438.99
2/15/2024   BillChk   0          LOAD CONNEX                                                                  2,771.26
2/16/2024   BillChk   0          LOAD CONNEX                                                                  4,339.55
2/16/2024   BillChk   0          LOAD CONNEX                                                                  1,624.41
2/20/2024   BillChk   0          LOAD CONNEX                                                                  2,304.83
2/20/2024   Chk       0          IRS                            2023-4 Deposit 941 Taxes                      4,000.00
2/20/2024   BillChk   0          LOAD CONNEX                                                                  1,000.00
2/20/2024   BillChk   0          LOAD CONNEX                                                                  1,007.22
2/21/2024   BillChk   0          LOAD CONNEX                                                                  1,712.78
2/23/2024   BillChk   0          LOAD CONNEX                                                                  3,753.03
2/26/2024   BillChk   0          LOAD CONNEX                                                                  1,366.97
2/27/2024   BillChk   0          LOAD CONNEX                                                                  1,111.26
2/29/2024   BillChk   0          LOAD CONNEX                                                                  1,402.08
2/29/2024   BillChk   0          LOAD CONNEX                                                                  1,309.90
2/8/2024    Chk       195        GULF COAST BANK & TRUST                                                       460.20
2/15/2024   Chk       204        GULF COAST BANK & TRUST                                                         94.25
2/20/2024   Chk       210        GULF COAST BANK & TRUST                                                       571.00
2/20/2024   Chk       211        GULF COAST BANK & TRUST                                                       671.75
2/20/2024   Chk       213        GULF COAST BANK & TRUST                                                       188.50
2/21/2024   Chk       217        GULF COAST BANK & TRUST                                                       544.00
2/26/2024   Chk       220        GULF COAST BANK & TRUST                                                       727.02
2/26/2024   Chk       223        GULF COAST BANK & TRUST                                                       466.00
2/27/2024   Chk       228        GULF COAST BANK & TRUST                                                       421.00
2/15/2024   BillChk   3004       BIG SKY UTILITY TRAILER SALE                                                 1,200.00
2/9/2024    Chk       2092024    REGIONS BANK                                                                  440.00

                                                                                               Total        119,661.91


Uncleared Items
Date        Type      Check      Payee                     Memo                            Debit Amt        Credit Amt

                                                                                Total           0.00              0.00




Bank Reconciliation   3/6/2024                                                                         Page 3 of 3
   23-60547-mmp Doc#82 Filed 04/24/24 Entered 04/24/24 06:52:21 Main Document Pg 17 of
                                           18
 Bank Statement Reconciliation                                                                              3/6/2024


         Rec No               31     Bank Acct            1003     Cleared Debits    34,592.01        8
        Rec Date        2/2/2024    Starting Bal      3,738.17     Cleared Credits   30,189.07       34
       Start Date       2/1/2024    Ending Bal        8,141.11       Unreconciled         0.00
       End Date        2/29/2024


Cleared Deposits And Other Additions
Date          Type       Memo                                                                              Debit Amt

2/1/2024      ChkDet                                                                                         100.00
2/1/2024      Dep                                                                                           4,000.00
2/7/2024      ChkDet                                                                                        5,150.00
2/12/2024     ChkDet                                                                                         100.00
2/14/2024     ChkDet                                                                                        8,500.00
2/15/2024     ChkDet                                                                                        1,442.01
2/21/2024     ChkDet                                                                                        7,200.00
2/28/2024     ChkDet                                                                                        8,100.00

                                                                                             Total         34,592.01


Cleared Checks And Other Deductions
Date          Type       Check      Payee                        Memo                                     Credit Amt

2/2/2024      Chk                   EXPERT PAY                                                               209.19
2/2/2024      Chk                   CRU TRANSPORTATION LLC                                                   900.00
2/6/2024      Chk                   REGIONS BANK                                                             113.00
2/9/2024      Chk                   EXPERT PAY                                                               329.66
2/16/2024     Chk                   EXPERT PAY                                                               329.66
2/23/2024     Chk                   EXPERT PAY                                                               209.19
2/29/2024     Chk                   REGIONS BANK                                                                7.00
2/2/2024      PayChk     0          HOFFMAN, MICHAEL                                                         312.59
2/2/2024      PayChk     0          HALE, MICHAEL                                                            855.39
2/2/2024      PayChk     0          JORDAN, TAWANA                                                          1,383.39
2/2/2024      PayChk     0          MONTANYE, JAMES                                                         1,464.03
2/2/2024      PayChk     0          MORTON, RONALD                                                          1,421.93
2/2/2024      PayChk     0          ROLLINS, HALLEY                                                         1,247.40
2/9/2024      PayChk     0          KIMBRO, ROBBIE                                                           709.36
2/9/2024      PayChk     0          HOFFMAN, MICHAEL                                                         351.45
2/9/2024      PayChk     0          HALE, MICHAEL                                                            163.34
2/9/2024      PayChk     0          JORDAN, TAWANA                                                           488.47
2/9/2024      PayChk     0          MONTANYE, JAMES                                                          503.86
2/9/2024      PayChk     0          MORTON, RONALD                                                          1,348.52
2/9/2024      PayChk     0          ROLLINS, HALLEY                                                         1,247.40
2/16/2024     PayChk     0          HALE, MICHAEL                                                           1,205.02
2/16/2024     PayChk     0          JORDAN, TAWANA                                                          1,518.05
2/16/2024     PayChk     0          KIMBRO, ROBBIE                                                           753.60
2/16/2024     PayChk     0          MONTANYE, JAMES                                                         1,633.73
2/16/2024     PayChk     0          ROLLINS, HALLEY                                                         1,322.07


Bank Reconciliation      3/6/2024                                                                    Page 1 of 2
   23-60547-mmp Doc#82 Filed 04/24/24 Entered 04/24/24 06:52:21 Main Document Pg 18 of
                                           18
2/16/2024   PayChk    0          HOFFMAN, MICHAEL                                       312.59
2/16/2024   PayChk    0          MORTON, RONALD                                        1,426.86
2/23/2024   PayChk    0          HALE, MICHAEL                                          714.88
2/23/2024   PayChk    0          JORDAN, TAWANA                                        1,605.75
2/23/2024   PayChk    0          MONTANYE, JAMES                                       1,906.39
2/23/2024   PayChk    0          MORTON, RONALD                                        1,193.30
2/23/2024   PayChk    0          ROLLINS, HALLEY                                       1,247.40
2/23/2024   PayChk    0          HOFFMAN, MICHAEL                                       312.59
2/15/2024   PayChk    3002       MONTANYE, JAMES                                       1,442.01

                                                                        Total         30,189.07


Uncleared Items
Date        Type      Check      Payee              Memo            Debit Amt        Credit Amt

                                                           Total         0.00              0.00




Bank Reconciliation   3/6/2024                                                  Page 2 of 2
